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                                                                                2024 Mar-25 PM 05:39
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

JOSHUA PHILLIPS,                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Civil Action Number: 5:22-cv-00987-LCB
                                         )
CITY OF HANCEVILLE,                      )
ALABAMA, et al.,                         )
                                         )
      Defendants.                        )

        JOINT EVIDENTIARY SUBMISSION IN SUPPORT OF
       MOTIONS FOR SUMMARY JUDGMENT BY DEFENDANTS

      Defendants City of Hanceville, Alabama, Investigator Josh Howell, Sergeant

Kyle Duncan, and Deputy Chief Adam Hadder jointly submit these evidentiary

materials in support of their respective motions for summary judgment in this case:

      A.    Deposition transcript of Joshua Phillips (11/30/23)

      B.    Deposition transcript of Joshua Phillips (1/18/24)

      C.    Deposition transcript of Investigator Josh Howell

      D.    Deposition transcript of Sergeant Kyle Duncan

      E.    Deposition transcript of Deputy Police Chief Adam Hadder

      F.    Declaration of Ronald W. Kiker

            Tab 1        Ronald W. Kiker CV

            Tab 2        Expert Report of Ronald W. Kiker
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         Tab 3       Combined Video of Sergeant Kyle Duncan’s Body
                     Camera and Closed Circuit Video from Hanceville Police
                     Department

    G.   Declaration of Chief Joshua Howell

         Tab 1       Body Camera Video of Sergeant Kyle Duncan [D00048]

         Tab 2       Closed Circuit Video from Hanceville Police Department
                     [D00049]

         Tab 3       Arrest Report of Joshua Phillips on September 8, 2020
                     [D00001-4]

         Tab 4       Body Camera Video of Roadblock [D00105]


                                 S/C. Gregory Burgess
                                 C. Gregory Burgess (ASB-1519-R79C)
                                 Stephanie Margaret Hall (ASB-1050-F67A)

                                 Attorneys for defendants City of
                                 Hanceville, Alabama, Investigator Josh
                                 Howell, Sergeant Kyle Duncan, and
                                 Deputy Police Chief Adam Hadder

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                        CERTIFICATE OF SERVICE

      I hereby certify that on the 25th day of March, 2024, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the following:

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